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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


ATLANTIC RECORDING
CORPORATION, et al.,

       Plaintiffs,
                                                   Civil Action No.
                                                   1:17-CV-00431-AT
       v.

SPINRILLA, LLC, et al.,

       Defendants.


   PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO STAY
     RULING ON PLAINTIFFS’ MOTION FOR LEAVE TO AMEND
           EXHIBIT A TO THE AMENDED COMPLAINT

      Plaintiffs respectfully oppose Defendants’ Motion to Stay Ruling on

Plaintiffs’ Motion for Leave to Amend Exhibit A to the Amended Complaint (Dkt.

197). According to Defendants, resolution of their motion for sanctions should

precede a decision on the addition of new works in suit because “part of the relief

requested by Defendants’ Motion for Sanctions was to prohibit Plaintiffs from

further amending Exhibit A to the Amended Complaint.” Dkt. 197 at 2. But

Defendants have it precisely backwards: Plaintiffs should be allowed now to add to

this case the thousands of copyrighted works that Defendants improperly concealed
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and only recently produced, and Defendants’ Motion for Sanctions—which was

premised on Defendants’ misrepresentations to the Court regarding the very

existence of those works—should be denied.

      As the Court will recall, at a status conference held on September 19, 2017,

the parties vigorously debated Defendants’ decision to withhold Spinrilla’s database

of sound recordings. During this colloquy, Plaintiffs’ counsel stated that “[w]e have

found what we found through the process of reviewing the website as best we can

from the outside looking in,” but that Plaintiffs could not know the full scope of the

infringements on Spinrilla without access to the database. Dkt. 87 (Transcript of

Sept. 19, 2017 Hearing) at 52:20-24. Defendants’ counsel argued against this

position, claiming that discovery of Spinrilla’s database was unnecessary because

Plaintiffs could access all of Spinrilla’s data on their own: “Everything is on the

website. . . . [T]he music on Spinrilla is on Spinrilla. [Plaintiffs] have log-ins. They

have all of that.” Id. at 51:23-52:5; see also id. at 46:16-47:18 (“Spinrilla is—it is a

public—everything on Spinrilla is on Spinrilla. . . . They have got all the tools.”).

      On October 3, 2017, Defendants filed their motion for sanctions, arguing that

Plaintiffs had “lied” to the Court by claiming that they needed discovery from

Defendants to know the full scope of infringements on Spinrilla, and that this

supposed “lie” had somehow “derailed” this case. Dkt. 100 at 3-4. In making this

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baseless charge, Defendants failed to mention that, just the previous day, Defendant

Jeffery Dylan Copeland had admitted in his deposition that—contrary to what

Defendants’ counsel told the Court in the September hearing—Defendants

possessed a vast trove of “hidden” infringing sound recordings that Plaintiffs could

not have found on their own, all of which were reflected in the very database to

which Plaintiffs had been seeking access since the start of discovery a year ago. Dkt.

130 at 3-4, 12-13. This admission thus confirmed that Plaintiffs had been truthful

with the Court—and, conversely, that Defendants had not.

      After months of Plaintiffs’ repeated requests, and nearly two months after the

close of fact discovery, Defendants finally produced a hard drive containing this

trove of hidden MP3 audio files, all of which had once been hosted on the Spinrilla

system but which Defendants themselves subsequently flagged as infringing and

blocked from public (and thus from Plaintiffs’) view. Dkt. 178-2 (February 5, 2018

Declaration of Scott B. Wilkens) ¶ 11. Immediately upon receiving these audio files,

Plaintiffs diligently analyzed the files to identify infringements of their copyrighted

works from among those audio files—those sound recordings already included as

works in suit in the current Exhibit A to the Amended Complaint as well as any

works not yet included in Exhibit A. See Dkt. 194-1, 195 (Mem. Supp. Pls.’ Mot.

Leave to Amend Ex. A to Am. Compl.) at 6-7. As a result of that laborious process,

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Plaintiffs identified over 2,000 additional copyrighted sound recordings that were

infringed on the Spinrilla service. Id. Plaintiffs’ motion for leave to amend Exhibit

A seeks to add these infringed recordings to the Amended Complaint. Id.

      For months, Defendants have used their sanctions motion—and the false

premise on which it is based—to tie up this case in a protracted sideshow rather than

confront the merits. Indeed, even as recently as a few weeks ago, Defendants

repeated the demonstrable falsehood that Plaintiffs “lied” when they claimed to have

been “handicapped” by not having access to Defendants’ databases, asserting once

again—in the face of all evidence to the contrary—that Plaintiffs were able “to

collect all data from Spinrilla.com” on their own. Dkt. 182 (Defs.’ Reply Further

Supp. First Mot. Summ. J.) at 4-5 (emphasis in original). But it is well past time for

this sideshow to end and for this case to proceed to the merits on the basis of the

infringements that Plaintiffs have been able to identify to date—including the more

than 2,000 infringed sound recordings that Plaintiffs have identified from

Defendants’ belated production of previously-hidden audio files, and which

Plaintiffs now seek to add as works in suit. Defendants should not be permitted to

forestall the addition of these new works in suit through their own improper delay in

disclosing the hidden files, or on the basis of a sanctions motion whose premise is

so demonstrably false.

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      Accordingly, Plaintiffs’ Motion for Leave to Amend Exhibit A to the

Amended Complaint to add these new works in suit should be permitted to go

forward without delay, and Defendants’ motion for a stay should be denied.

      This 24th day of April, 2018.         Respectfully submitted,

                                              /s/ Kenneth L. Doroshow

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         CERTIFICATE OF COUNSEL REGARDING FONT SIZE


      I, Kenneth L. Doroshow, an attorney, hereby certify that the foregoing has

been prepared with a font size and point selection (Times New Roman, 14 pt.) which

is approved by the Court pursuant to Local Rules 5.1(C) and 7.1(D).


                                            /s/ Kenneth L. Doroshow
                                            KENNETH L. DOROSHOW



                         CERTIFICATE OF SERVICE


      I, Kenneth L. Doroshow, an attorney, hereby certify that on this 24th day of

April, 2018, Plaintiffs’ Opposition to Defendants’ Motion to Stay Ruling on

Plaintiffs’ Motion for Leave to Amend Exhibit A to the Amended Complaint was

electronically filed with the Clerk of Court using the CM/ECF system, which will

automatically send electronic notification and a service copy of this filing to all

counsel of record who have appeared in this matter.



                                            /s/ Kenneth L. Doroshow
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